Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15   Entered 05/20/15 01:11:53   Page 1 of 11




                      EXHIBIT B
Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                   Entered 05/20/15 01:11:53         Page 2 of 11




                                          Servicing Agent Agreement

  This Servicing Agent Agreement (the "Agreement") is entered into as of J1J>--t::':'~-, 2011 between
  Life Partners, Inc. (hereinafter "LPr') and Purchase Escrow Services, L C, a Texas limited liability
  company (hereinafter the "Servicing Agent" or "PES").

                                                    Recitals

          WHEREAS, LPI is engaged in the business of aeting as a "life/viatical settlement provider," and
 in such capacity arranges for the purchase of life insurance policies for investment on behalf of individual
 and institutional purchasers (hereinafter "Purchaser(s)"), said sale and purchase oflife insurance policies
 referred to as "life settlements"; and

           WHEREAS, in the course of said business, LPI requires the services of an independent Servicing
 Agent to provide escrow services to facilitate life settlement transactions by holding funds deposited by
 the Purchasers who wish to purchase life insurance policies, facilitating the closing transaction whereby
 title to and ownership of the policy is transferred from the previous policy owner (hereinafter "Seller(s)")
 to LPI as agent for the Purchasers, facilitating the payment of premiums on life settlement policies, and
 facilitatiug the payment of policy proceeds to the Purchasers upon the death of insureds of purchased
 policies; and

         WHEREAS, previously Sterling Trust Company/UW Trust Company/UW Administrative
 Services, Inc. (hereinafter collectively referred to as "UW") provided these services on certain life
 settlements transacted by LPI; and

         WHEREAS, UW has ceased providing such services, and Servicing Agent wishes to replace UW
 as the servicer of said previously transacted life settlements, subject to the indemnification provisions
 provided herein.

                                                  Agreement

             IT IS THEREFORE AGREED AS FOLLOWS:

                                    SERVICES OF SERVICING AGENT

     1. Appointment of Servicing Agent: Servicing Agent is hereby appointed as the replacement
        servicer for LPI's life settlement transactions pursuant to the terms and conditions of this
        Agreement to provide the services set forth in this Section 1 pursuant to the terms and conditions
        of this Agreement. Servicing Agent and its successors or assigns hereby agree to refrain from
        knowingly honoring any instruction by LPI or any officer, employee, or agent thereof which
        would dispossess any Purchaser for whom LPI acts as agent of any interest in any policy for
        which Servicing Agent acts as Servicing Agent, except as (i) allowed under the agreements
        entered into by the Purchaser, (ii) expressly direeted in writing by such Purchaser, or (iii) as
        ordered by a regulatory or judicial authority.

               a.   Transfer ofAccount Duties: On or before the date hereof, LPI has required (by separate
                    written agreement) UW to transfer to Servicing Agent all Purchaser, insured, and seller
                    records, documentation, accounts, and information related to life settlements previously
                    held by UW. From and after the date hereof, Servicing Agent shall be responsible for
                    maintaining and safeguarding the records, documentation, accounts, and information so
                    transferred.

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Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                Entered 05/20/15 01:11:53           Page 3 of 11




             b. Premium Administration Duties: The Servicing Agent shall maintain an interest-bearing
                account (hereinafter the "Premium Escrow Account") to hold funds escrowed for the
                payment of premiums on each life settlemeut. The Servicing Agent will be responsible
                for sub-accounting for each Purchaser's funds held in the Premium Escrow Account for
                this purpose, including accounting for each life settlement held by each such Purchaser
                and the amount of their escrowed funds attributable to each such life settlement.

                 LPI shall be responsible for ensuring that premium notices for each life settlement are
                 sent to LPI by the issuing insurance company. LPI shall instruct the Servicing Agent in a
                 timely manner when such premium payments must be made (which, when possible, shall
                 be no less than thirty (30) days prior to the date the premium payment is due) and the
                 amounts of said premium payments. Servicing Agent shall pay all premiums to the
                 insurance company as timely instructed by LPL Servicing Agent agrees to pay premiums
                 as they may come dne for any policy under this agreement ONLY from the funds
                 escrowed and held by Servicing Agent for that purpose in the Premium Escrow Acconnt.
                 Servicing Agent and its successors or assigns hereby agree to refrain from honoring any
                 instruction by LPI or any officer, employee, or agent thereof directing Servicing Agent to
                 pay any amonnt from the Premium Escrow Account for any purpose other than to pay
                 premiums due on a policy purchased in a life settlement transaction, either directly to the
                 issuing life insurance company or to reimburse any other party, including LPI, which has
                 already paid to the issuing insurance company any such premium payment, except for the
                 repayment of unused premiums to the Purchasers of the policy or as otherwise directed in
                 writing by a Purchaser or as ordered by a regulatory or judicial authority. Servicing
                 Agent shall have the right, but no duty, to request reasonable evidence that a premium
                 payment has been made to the insurance company prior to honoring any instruction from
                 LPI to make reimbursement for said premium payments from the Premium Escrow
                 Account.

                 In the event the balance in the Premium Escrow Account for any policy is exhausted or is
                 insufficient to pay the premium(s) due, Servicing Agent agrees to communicate this
                 information to LPI as soon as reasonably possible in order to afford LPI the opportunity
                 to communicate to the Purchaser the obligation to place additional funds in the Premium
                 Escrow Account. LPI shall be solely responsible for notifying the Purchasers of the
                 policy of the depletion of the escrowed premiums and of the amount they must submit to
                 Servicing Agent to replenish the Premium Escrow Account. Servicing Agent shall retain
                 such amounts in the Premium Escrow Account and sub-account for those funds in the
                 same manner as the original escrowed amounts. Subject to force majeure, on each
                 business day during the term of this Agreement Servicing Agent shall provide a written
                 or electronic report to LPI of premium payments made and deposits to and withdrawals
                 from the Premium Escrow Account.

             c. Purchaser Account Changes: Servicing Agent agrees to make account changes and
                facilitate transfers and sales of policy interest ownership as instructed by Purchasers
                through LPL Upon the reasonable request of Servicing Agent, LPI agrees to procure
                from the Purchaser(s) requesting such an account change any document or information
                which is necessary to effect said account change.

             d. Distribution of Death Benefits: Servicing Agent agrees to be designated as the
                beneficiary of the life settlement polices for which UW was previously the escrow agent,
                provided that LPI shall be responsible for ensuring that Servicing Agent is so designated.

 4592490.5
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Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                Entered 05/20/15 01:11:53          Page 4 of 11




                 However, any designation of Servicing Agent as beneficiary is solely on behalf of the
                 Purchasers of the life settlements. Upon the maturity of the life settlements, LPI shall
                 obtain proof of the death of the insured, the appropriate claim forms from the issuing
                 insurance company, and any other documents necessary to file the claim for death
                 benefits with the insurance company. Upon request, Servicing Agent agrees to provide
                 LPI with any reasonable aid necessary in procuring these documents. Upon receipt of
                 these documents from LPI, Servicing Agent shall promptly file a claim for death benefits
                 with the insurance company. Servicing Agent shall determine according to its records the
                 percentage amount of the death benefits of the life settlement allocable to each Purchaser
                 of the life settlement, and shall provide a report of its determination (the "Benefit
                 Distribution Report") to LPI. Upon receipt of the Benefit Distribution Report, LPI shall
                reconcile the Benefit Distribution Report with LPI's records relating to the life
                 settlement. LPI shall be responsible for ensuring that the records of LPI and Servicing
                Agent are reconciled prior to the distribution of the death benefits. After receipt of
                written confirmation from LPI that it has reconciled the Benefit Distribution Report with
                its records (the "Reconciliation Confirmation"), Servicing Agent shall then distribute said
                death benefit to the Purchasers of the life settlement according to the reconciled Benefit
                Distribution Report and in accordance with this Agreement, subject to any liens, judicial
                orders, assignments or properly issued instructions from Purchaser that have been filed
                with Servicing Agent. Servicing Agent shall distribute the death benefit or any other
                funds payable to a Purchaser pursuant to a life settlement payout within seven (7) days
                after the receipt of the funds and the Reconciliation Confirmation from LPI. If for any
                reason LPI cannot reconcile the Benefit Distribution Report with its records or fails to
                provide the Reconciliation Confirmation, LPI expressly acknowledges and agrees that, in
                addition to any other remedies it may have hereunder, Servicing Agent may elect to
                pursue the remedy set forth in Section 9 hereof. Should a life settlement mature prior to
                the premiums escrowed for such life settlement being exhausted, said remaining premium
                amounts shall be repaid to the Purchasers along with the death benefit of the life
                settlement.

     2. Investment ofEscrowed Funds: The Serviciug Agent may invest escrowed funds only in a cash
        or cash equivalent account with an FDIC insured financial institution or such accounts or
        investmeuts as specifically instructed in writing by the Purchasers through a duly executed AA
        and/or PFA and shall have no independent investment discretion.

    3. Liability ofServicing Agent: The duties and obligatious of the Serviciug Agent pursuant to this
       Agreemeut will be determined solely by the provisions of this Agreement and any subsequent
       written agreements between the parties hereto and the laws of the State of Texas. The Servicing
       Agent shall only have those duties expressly set forth herein or in other written agreements with
       LPI, Sellers, or Purchasers with respect to a particular life settlement transactiou( s). Servicing
       Agent is not responsible or liable in any manner whatsoever for the sufficiency, correctness,
       genuineness or validity of the subject matter of any life settlement, documentation or funds
       related thereto, or any part thereof, or for the form or execution thereof; for the identity or
       authority of any person executing or depositing it; or for the accuracy, validity, or sufficiency of
       any instructions, information, or documents submitted to the Servicing Agent. The Servicing
       Agent shall have no implied duties or obligations to determine or inquire into the happening or
       occurrence of any event or contingency, or the performance or failure of performance of any of
       the parties to this Agreement. In the event that the Servicing Agent is required to take certain
       action upon the occurrence of any event or contingency, the time prescribed for action by the
       Servicing Agent shall, in all cases, be reasonable time after written notice to the Servicing Agent
       of the occurrence of such event or contingency, Under no circumstances shall Servicing Agent be

 4592490.5
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Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                 Entered 05/20/15 01:11:53          Page 5 of 11




          liable for any general or consequential damages or damages caused, in whole or in part, by the
          action or inaction of LPI, UW, or any of their respective affiliates, members, officers, directors,
          representatives, agents or employees

     4. Full Indemnification by LPL In addition to the limitations set forth above, LPI AGREES TO
        INDEMNIFY AND HOLD HARMLESS THE SERVICING AGENT, ITS AFFILIATES, AND
        ITS      MEMBERS,          OFFICERS,        DIRECTORS,         EMPLOYEES,          AND       THEIR
        REPRESENTATIVES FROM AND AGAINST AND IN RESPECT OF ALL DIRECT AND
        INDIRECT CLAIMS, LOSSES, LIABILITIES, DAMAGES, COSTS, AND EXPENSES OF
        ANY KIND AND NATURE (INCLUDING, BUT NOT LIMITED TO, REASONABLE
        ATTORNEY FEES) INCURRED BY THE SERVICING AGENT BY REASON OF OR
        RELATING TO (I) ACTIONS OR OMISSIONS BY UW OR LPI OCCURRING PRIOR TO
        THE EFFECTIVE DATE OF THIS AGREEMENT, OR (II) ACTIONS OR OMISSIONS BY
        SERVICING AGENT OR LPI OCCURRING ON OR AFTER THE DATE OF THIS
        AGREEMENT, INCLUDING TO THE EXTENT ANY SUCH ACTION OR OMISSION IS
        ATTRIBUTABLE TO ANY NEGLIGENCE BY SERVICING AGENT, BUT NOT TO THE
        EXTENT OF ANY GROSS NEGLIGENCE OR WILLFUL MISCONDUCT OF SERVICING
        AGENT. LPI acknowledges and agrees that the foregoing indemnity is material consideration for
        Servicing Agent's entry into this Agreement, and Servicing Agent would not be willing to enter
        into this Agreement absent LPI's covenant to indemnify Servicing Agent on the terms described
        herein. In the event indemnification is provided by LPI for attorney's fees associated with an
        action as described above, LPI retains the absolute right to control such litigation including, bnt
        not limited to, selection and retention of counsel, prosecution of claims, counter-claims, defenses,
        waiver, settlement, and all other strategic and tactical decisions made in connection with or
        effecting such litigation.

     5. Reliance of Servicing Agent: The Servicing Agent will be entitled to rely upon and will be
        protected in acting in reliance upon (i) any instructions, directions or information furnished to it
        in writing by LPI pursuant to the provisions of this Agreement or by any Purchasers or Sellers as
        set forth in any agreements with them or (ii) upon any written notice, request, waiver, consent,
        certificate, receipt, authorization, power of attorney or other paper or document which the
        Servicing Agent in good faith believes to be genuine and what it purports to be. The Servicing
        Agent is hereby authorized to rely upon the representations of LPI as to its authority to execute
        and. deliver this Agreement, notifications, receipts or instructions hereunder and as to
        relationships among persons, including persons authorized to receive delivery hereunder. Written
        notice of any succession or assignment of any interest of any party specified herein shall be given
        to the Servicing Agent, and shall not be effective until received by the Servicing Agent.

                                           CONSIDERATION

     6.    "Cost Plus" Reimbursement: In consideration of Servicing Agent's performance of the services
          set forth in Section I above, LPI agrees to compensate Servicing Agent as follows:

             a.   LPI shall pay to PES the sum of Sixty Thousand and No/IOO Dollars ($60,000.00)
                  annually, due in monthly installments of Five Thousand and NolI 00 Dollars ($5,000.00)
                  per month, on the first (1st) day of each calendar month; and

             b. LPI shall reimburse Servicing Agent for all docnmented costs and expenses relating to
                the administration of Servicing Agent's business to the extent such costs and expenses
                exceed the revenue earned from such business (the "Reimbursed Costs"); provided,
                however, the monthly payments set forth in Section 6(a) above shall be excluded from

 4592490.5
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Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                 Entered 05/20/15 01:11:53          Page 6 of 11



                  the calculation of Servicing Agent's revenue for purposes of calculating the Reimbursed
                  Costs. Servicing Agent agrees to provide to LPI, on a monthly basis and within five (5)
                  business days following the close of each calendar month, an itemized statement of all
                  revenue, costs and expenses and an invoice for the Reimbursed Costs, with supporting
                  documentation available upon request. LPI shall pay Servicing Agent the total amount of
                  the Reimbursed Costs on the first day of the second calendar month following the month
                  for which the invoice was provided. (By way of example and for purposes of illustration
                  only, for all revenue, costs and expenses received or incurred by Servicing Agent for the
                  month of January, 2011, Servicing Agent would deliver the statement and invoice for
                  said items to LPI on or before February 7, 2011, and LPI would reimburse the
                  Reimbursed Costs on March 1,2011.) Failure ofLPI to pay the Reimbursed Costs shall
                  be subject to late interest charges of five percent (5%) per annum, imposed on the unpaid
                  balance of any unpaid invoices; and

             c.   LPI, or as applicable, the individual life/viatical settlement purchasers, shall pay to
                  Servicing Agent the separate Fees as set forth in Section 13 hereunder. For any such
                  which are paid by LPI, PES shall itemize and include such fees in the monthly invoices
                  described in subsection (b) above, and which fees shall be due and payable by LPI as
                  described in subsection (b) above.

                                            MISCELLANEOUS

     7. Term: The term of this Agreement shall be one (I) year, to be renewed automatically unless
        terminated in accordance with Section 21 berein.

     8. Put Right

             a.   The parties agree that the sole member of PES, Hugh Brady (or his assigns) shall have
                  the right to require LPI to purchase all of Hugh Brady's interest in PES (the "PES
                  Ownership Interest") upon twenty (20) days' written notice by PES to LPI, with the
                  twenty (20) day time period to commence upon the date of delivery of such written notice
                  to LPI (the "Put Notice"). On or before the expiration of the twenty (20) day period after
                  the Put Notice, LPI may appoint a person or business entity to purchase the PES
                  Ownership Interest by written notice to PES, provided, however, if no such notiee is
                  delivered on or before the expiration of the twenty (20) day period, or if the person or
                  business entity designated by LPI refuses to purchase the PES Ownership Interest, then
                  LPI shall purchase the PES Ownership Interest.

             b. LPI or its appointee shall purchase the PES Ownership Interest for $100.00 (the
                "Purchase Price").

             c.   The closing of the sale and purchase of the PES Ownership Interest pursuant to the put
                  right herein (the "Put Purchase Closing") shall occur within ten (10) days following the
                  expiration of the twenty (20) day period referenced in subsection (a) above. At the Put
                  Purchase Closing, (i) PES will cause Hugh Brady to deliver an assignment of the PES
                  Ownership Interest and PES shall cause to be taken all such other action as may be
                  reasonably necessary in order to transfer the PES Ownership Interest to LPI or its
                  designee, and (ii) LPI will pay PES the Put Purchase Price in immediately available good
                  funds, together with all reasonable attorneys' fees incurred by PES and/or Hugh Brady
                  with respect previous agreements relating to this transaction (including, but not limited


 4592490.5
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Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                   Entered 05/20/15 01:11:53           Page 7 of 11



                  to, a Capital Advance and Cost Reimbursement Agreement) and PES's negotiations with
                  LPI regarding this Agreement.

              d. LPI agrees to indemnify and hold harmless Hugh Brady (or his assigns) for all losses,
                 damages, judgments, claims, expenses, costs and liabilities imposed upon or incurred by
                 or asserted against Hugh Brady, including without limitation reasonable attorneys' fees
                 and expenses, in connection with this Agreement, including specifically the exercise of
                 the Put Right hereunder.

      9. Interpleader: Notwithstanding anything herein to the contrary, in the event Servicing Agent shall
         be in doubt as to what action it should take hereunder at any time during the term of this
         Agreement, Servicing Agent shall have the right, in its sole and absolute discretion, to file an
         interpleader action in the District Court of McLennan County, Texas, and interplead all
         documents, instruments and funds held by it into the registry of said Court, and in such event, all
         costs, expenses and attorney's fees incurred by Servicing Agent in filing such interpleader action
         shall be paid by LPI. The rights of Servicing Agent under this paragraph are cumulative to all
         other rights which it may have by law or otherwise.

      10. Joint Prosecution: From time to time, LPI will fmd it necessary to bring lawsuits regarding or
          arising out of life insurance policies purchased in a life settlement transaction, both against the
          insurance company and other parties; and Servicing Agent, as named beneficiary of these
          policies, may be an indispensable or necessary party to some or all of these lawsuits. Whenever
          LPI deems it necessary to bring suit to enforce rights and obligations regarding or arising out of a
          life insurance policy which is the basis of a I ife or viatical settlement transaction facilitated by
          LPI for which Servicing Agent acts as the independent Servicing Agent in said transaction,
          Servicing Agent authorizes LPI and any attorney representing LPI in said action to represent
          Servicing Agent and to bring suit on behalf of Servicing Agent solely in Servicing Agent's
          capacity as independent Servicing Agent if Servicing Agent is an indispensable or necessary
          party to said cause of action. LPI will be solely responsible for the payment of the institution of
          all such suits, including all attorneys' fees, and shall provide Servicing Agent with copies of all
          pleadings in such suits.

     II. Notices: All notices, requests, demands, or other communications with deliveries required or
         permitted to be given pursuant to this Agreement shall be in writing and shall be deemed to have
         been duly given if delivered personally, sent by facsimile transmission, or deposited for mailing
         by first class mail, postage prepaid, sent either registered or certified mail as follows:

         Ifto LPI:                        Life Partners, Inc.
                                          204 Woodhew Dr.
                                          Waco, Texas 76712
                                          Fax: (254) 751-1025

         If to the Servicing Agent:        Purchase Escrow Services, LLC
                                           510 North Valley Mills Drive, Suite 505
                                           Waco, Texas 76710
                                           Attn: Bill Helton, Manager

                                          with a copy to:

                                          Purchase Escrow Services, LLC
                                          c/o Hugh Brady

 4592490.5
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Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                 Entered 05/20/15 01:11:53           Page 8 of 11




                                          P.O. Box 13132
                                          Austin, Texas 78711-3132
                                          (512)473-0003

                                          or to such other address as may designated in writing by LPI or
                                          Servicing Agent from time to time.

         In the event the Servicing Agent is authorized or directed under the terms hereof to deliver the
         subject matter of the escrow, or any part thereof, to any agent or employee of the undersigned,
         such delivery may be made by depositing the same in the United States mail in an envelope
         addressed to the person to whom such delivery is to be made at his address as shown in this
         Paragraph of this Agreement.

     12. Holidays: Whenever under the terms of this Agreement, the performance date of any provision
         hereof shall fall on a holiday of the Servicing Agent, the performance thereof on the next
         successive business day ofthe Servicing Agent shall be deemed to be in full compliance with this
         Agreement.

     13. Fees: The Servicing Agent shall receive fees in accordance with the attached schedule for the
         administration of the Premium Escrow Account. This schedule shall be subject to change only by
         mutual, written agreement between the parties hereto, with ninety (90) days written notice. In
         addition to the fees set forth in the attached schedule, Servicing Agent shall receive a portion of
         the interest earned on escrowed funds, in a percentage amount as agreed upon between the parties
         hereto by separate agreement.

     14. Texas Law to Apply: This Agreement shall he construed in accordance with the laws of the State
         of Texas, and all obligations of the parties created hereunder are performable in McLennan
         County, Texas.

     15. Parties Bound: This Agreement shall be binding upon and insure to the benefit of the parties
         hereto, and their respective heirs, executors, administrators, legal representatives, successors and
         assigns.

     16. Legal Construction: In the event that anyone or more of the provisions contained in this
         Agreement shall for any reason be held to be invalid, illegal, or unenforceable, the remaining
         provisions shall not be affected thereby, and this Agreement shall be construed as if such invalid,
         illegal, or unenforceable provision had never been contained herein.

     17. Prior Agreements Superseded: This Agreement constitutes the sole and only agreement of the
         parties hereto and supersedes any prior understanding or written or oral agreements between the
         parties respecting the within subject matter, save and except those agreements entered into
         contemporaneously herein and as are referred to herein.

    18. Headings: The headings used in this Agreement have been inclnded only in order to make it
        easier to locate the subject covered by each provision and are not used in construing this
        Agreement.

    19. Counterparts: This Agreements may be executed in any number of counterparts, and each of
        such counterparts shall for all purposes be deemed to be and original.




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Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                   Entered 05/20/15 01:11:53             Page 9 of 11




     20. Modifications, Amendments, or Assignment: This Agreement may not be modified, assigned, or
         amended except by a written instrument signed by the parties hereto and referring specifically to
         this Agreement. This Agreement will be binding upon and inure to the beuefit of any sueeessor
         of Servicing Agent or LPI, including any entity emanating from either or both parties. Auy such
         suecessor will be deemed substituted for the party from which it emanated under the terms of this
         Agreement for all purposes. For this purpose, "successor" means any person, firm, corporation,
         or other business entity which at any time, whether by pnrchase, merger, spinoff, or otherwise,
         directly or indirectly acquires all or substantially all of the stock, securities, assets, or business of
         the party from which it emanates.

     21. Other Instruments: Each party shall, upon the request of the other party, execute, acknowledge
         and deliver any and all instruments reasonably necessary or appropriate to carry into effect the
         intention of the parties as expressed in this Agreement.

     22. Termination: This Agreement may be terminated by either party upon no less than thirty (30)
         days' prior written notice. Upon termination ofthis Agreement, all funds and related records held
         in the Premium Escrow Account shall be transferred to a successor Servicing Agent appointed by
         LPI within six (6) months of the notice of termination. Servicing Agent shall provide such
         reasonable support and cooperation as is necessary to facilitate such a transfer. The successor
         Servicing Agent shall assume all duties and obligations of the Servicing Agent and the Servicing
         Agent shall have no further duties or liability regarding the transferred funds and records and
         shall have no liability for the acts of the successor Servicing Agent.

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Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                  Entered 05/20/15 01:11:53          Page 10 of 11




    EXECUTED to be effective as of the date first written above,


   LIFE PARTNERS, me.

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   By:      . ,~/              -
      /1!,A;cott Peden, President
   Dat;t/   (' iJ'). i, I 2,,!I


   PURCHASE ESCROW SERVICES, LLC
   a Texas limited liability company

                                       --,   '"
   By:                                 ,::tfi;
            Bill Helton, Mana' er
   Date:      c1t:rl--   i, I 6> \ \




                                                                      ~~f
                                                  Joined into as of this       September, 2011, solely
                                                  for pu poses of Section 8 above:


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Case 15-40289-mxm11 Doc 347-2 Filed 05/20/15                   Entered 05/20/15 01:11:53           Page 11 of 11




                                                 FEE SCHEDULE


        •     Resale - $100 per Outgoing or Incomiug Purchaser, whichever is greater, capped at $1,000 per
              resale transaction.

        •     Account Changes

                  o   Due to Death of Purchaser - $100 per Purchaser
                  o   Due to Divorce - $100 per Purchaser
                  a   Account Re-Registration (change account designation/category) $100 per Purchaser
                  a   Mandatory Distribution from IRA - $25.00 per Purchaser
                  o   Name Change Only Due to Marriage or Divorce - no charge

        •     Cashier's Certified Check - $25.00
        •     Certified Mail- Return Receipt Requested - $4.40
        •     Overnight Delivery - Domestic - $18.00
        •     Overnight Delivery - Foreign - $30.00
        •     Overnight Delivery Address Changes - $10.00
        •     Wire Fee - Domestic - $25.00
        •     Wire Fee - Foreign - $50.00
        •     Wire Retrieval- Domestic - $25.00
        •     Rejected Wire - $25.00
        •     Rejeeted Wire - Foreign - $50.00
        •     Refund of Premium Payment requested in error - $10.00
        •     Foreign Bank Draft - $25.00
        •     Returned Check - $25.00
        •     Speeial Processing (used for miscellaneous special projects requested by LPI) - $50.00/hr.
        •     Servicing Agent eheeks on closings - first three ehecks are free, $10.00 per check thereafter
        •     Stop Payments - $25.00
        •     Tax Form Changes for Revised 1099's (due to wrong TIN number provided by Seller,
              Purchaser, or Beneficiary) - $50.00.




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